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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 20–35–M–DLC

                      Plaintiff,

 vs.                                                         ORDER

 NATHANIEL VINCENT LONG,

                       Defendant.

       United States Magistrate Judge Kathleen L. DeSoto entered her Findings and

Recommendation Concerning Plea on October 21, 2020. (Doc. 30.) As neither

party objected, they are not entitled to de novo review of the record. 28 U.S.C.

§ 636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

Therefore, the Court reviews the Findings and Recommendation for clear error.

McDonnel Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

       Judge DeSoto recommends that the Court accept Nathaniel Vincent Long’s

guilty plea after he appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with intent to

distribute controlled substances, in violation of 21 U.S.C. § 841(a)(1), as set forth

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in Count I of the Indictment. She also recommends that the Court accept Long’s

agreement to the forfeiture allegation in the Indictment.

      Finding no clear error, IT IS ORDERED that the Court ADOPTS the

Findings and Recommendation (Doc. 30) IN FULL.

      IT IS FURTHER ORDERED that Nathaniel Vincent Long’s motion to

change plea (Doc. 20) is GRANTED, and he is adjudged guilty as charged in

Count I of the Indictment.

      DATED this 5th day of November, 2020.




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